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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

                                                )
SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                      Plaintiff,                )           Civil Action No. 2:17-cv-00086
v.                                              )
                                                )
LEGO SYSTEMS, INC.,                             )
                                                )                   APRIL 3, 2017
                      Defendant.                )
                                                )
                                                )


 DECLARATION OF ELIZABETH ALQUIST IN SUPPORT OF DEFENDANT LEGO
    SYSTEMS, INC.’S MOTION TO DISMISS PURSUANT TO F.R.C.P 12(b)(6)

I, Elizabeth Alquist, declare the following statements upon my solemn oath:

       1.      I am currently an attorney in good standing, practicing law in the State of

Connecticut, and admitted pro hac vice in the Eastern District of Virginia. I represent LEGO

Systems, Inc. (“LSI”) in the above-captioned litigation. I make all statements in this declaration

based upon my own personal knowledge for the sole purpose of authenticating the following

documents.

       2.      The following documents are true and accurate copies:

               EXHIBIT 1, a copy of U.S. Patent No. Patent No. 7,992,773 (“the ‘773 Patent”).

               EXHIBIT 2, a printout of QReative’s webpages providing certain images at issue

               and the contact information of QReative, available at http://www.qreative-

               media.de/qr-code-technologie/wie-funktionieren-qr-codes.html (Page 1) and

               http://www.qreative-media.de/kontakt.php (Page 2).
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           EXHIBIT 3, a printout of i-nigma’s webpage providing its QR code reader

           available for download, available at http://www.i-nigma.com/Downloadi-

           nigmaReader.html.

           EXHIBIT 4, a description of Search Engine Watch (searchenginewatch.com) and

           the sale to Blenheim Chalcot.

           EXHIBIT 5, a printout of Tribal Café’s article giving an overview of QR codes,

           available at https://www.tribalcafe.co.uk/qr-code-marketing/.

           EXHIBIT 6, a printout of the image search using the Google image search engine

           and the terms “2d-barcode-scanning-process.”

SIGNED UNDER THE PENALTIES OF PERJURY, THIS 3RD DAY OF APRIL 2017.


                                             /s/ Elizabeth A. Alquist




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